Case 2:03-cv-08236-AHM-FMO Document 95 Filed 10/24/07 Page 1of2 Page ID #:79
UNITED STATES COURT OF APPEALS

FOR THE NINTH CIRCUIT

 

CITY OF ST. CLAIR SHORES POLICE

AND FIRE RETIREMENT SYSTEM,
individually and on behalf of all others
similarly situated; et al.,

Plaintiffs,
and

ANCHOR CAPITAL ADVISORS,

Plaintiff - Appellee,
PENSION FUNDS, Employer-Teamsters
Local Nos. 175 and 505 Pension Trust
Fund, International Union of Operating
' Engineers, Local 132 Pension Plan, and
the West Virginia Laborers Pension Trust
Fund,

Intervenor - Appellant,

Vv.

WATSON PHARMACEUTICALS INC.;
et al.,

Defendants - Appellees,
and
EMKAY INC.; et al.,

Real Parties in Interest.

 

 

No. 04-56791

D.C. No. CV-03-08236-AHM v
CV-03-08946-AHM
CV-03-09291-AHM
Cv-03-09628-AHM

JUDGMENT

 

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Appeal from the United States District Court for the Central District of

California, Los Angeles.

On consideration whereof, it is now here ordered and adjudged by this

Court, that the appeal in this cause be, and hereby is DISMISSED.

Filed and entered 08/16/07

 
